          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      CHARLOTTE DIVISION

                      CRIMINAL CASE NO. 3:07cr211


UNITED STATES OF AMERICA, )
                          )
                          )
                vs.       )                     ORDER
                          )
                          )
Michael D. Pahutski,      )
Victoria L. Sprouse,      )
R. Michael Gee,           )
Gregory D. Rankin,        )
Jules A. Springs.         )
                          )


      THIS MATTER is before the Court on the Motions to Extend Time to File

Pretrial Motions of Defendants Gee, Sprouse and Springs [Doc. 70, 71 and

72], the Motion to Continue of Defendant Rankin [Doc. 77], and pursuant to the

request for a pre-emptory trial setting orally made in the pre-trial conference

before the Magistrate Judge. This matter currently appears on the trial

schedule for the jury term beginning June 9, 2008.

      This matter presents allegations of a complex mortgage fraud scheme

involving mail fraud, wire fraud, securities fraud and money laundering. The

Second Superceding Indictment (current indictment), handed down on March




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20, 2008, asserts thirty-three counts. There are five remaining defendants.

The attorney for one of these defendants was only recently appointed on May

5, 2008. The current discovery in this matter is represented to the Court to

consist of some approximately eighty-five banker boxes of documents. It is

anticipated by the parties that complex and extensive pre-trial motions will be

forthcoming.

      The Magistrate Judge has conducted two Pre-Trial conferences with the

parties, and from those conferences it appears that all Defendants as well as

the Government, are of the opinion that all of the factors recited above will,

even with the exercise of all reasonable diligence by counsel, necessitate a

longer than ordinary period for investigation and review of discovery materials,

and for the presentation and briefing of pre-trial motions.

      Given the recent appointment and appearance in the case of counsel for

Defendant Rankin, the Court finds that counsel would not have an adequate

opportunity to prepare for trial, taking into account the exercise of due

diligence. The Court therefore finds that a failure to grant the continuance

from the June 9, 2008 Term "would unreasonably deny the defendant ... the

reasonable time necessary for effective preparation, taking into account the

exercise of due diligence," 18 U.S.C. § 3161(h)(8)(B)(iv), and thus the ends


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of justice served by the granting of the continuance sought by Defendant

Rankin outweigh the best interests of the public and the defendant in a speedy

trial. 18 U.S.C. §3161(h)(8)(A).

      Having decided to grant the motion to continue of Defendant Rankin, the

Court will also continue the trial of this matter as to all Defendants. The Court

notes that the time allotted under the Speedy Trial Act has not run as to any

individual Defendant. All Defendants are joined for the purposes of trial. No

motion for severance has been made or granted.                As such, 18 U.S.C.

§3161(h)(7) allows that the trial of all Defendants should be continued along

with the trial of Defendant Rankin.

      Having decided to continue this matter, the Court finds and concludes

that the ends of justice would be served by entering a schedule for the further

conduct of this case that would allow the Defendants and the Government an

adequate time to prepare while still bringing the matter to trial in as expeditious

a manner as would be reasonable under all the circumstances of this case.

While the Court certainly has an interest in the orderly and expeditious

administration of justice, see United States v. Gallop, 838 F.2d 105, 108 (4th

Cir.), cert. denied, 487 U.S. 1211, 108 S.Ct. 2858, 101 L.Ed.2d 895 (1988), the

Court will not arbitrarily “insist[] upon expeditiousness in the face of a justifiable


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request for delay....” Morris v. Slappy, 461 U.S. 1, 11-12, 103 S.Ct. 1610,

1616, 75 L.Ed.2d 610 (1983) (quoting Ungar v. Sarafite, 376 U.S. 575, 589, 84

S.Ct. 841, 849, 11 L.Ed.2d 921 (1964)). In light of the extensiveness and

complexity of the discovery and the issues, the Court finds and concludes that

if the Court allows the parties until October 15, 2008, within which to file all

pre-trial motions, this would allow for the parties to adequately prepare and

review the discovery, and to evaluate any potential plea agreements. Though

this period of time is longer than the ordinary, it is necessary to avoid a

miscarriage of justice in this matter. 18 U.S.C. §3161(h)(8)(B)(I).

      The Court also finds and concludes that allowing the parties a pre-

emptory setting for this case would allow for proper preparation for a trial as

complex as is expected herein, and thus the ends of justice would be served

by granting a pre-emptory setting. In order to allow the parties the opportunity

for the adequate briefing and argument of the pre-trial motions so as to avoid

a miscarriage of justice, and also to allow the parties adequate time for

preparation for trial after the resolution of such motions, the Court finds and

concludes that it is reasonable to allow a period of five months between the

pre-trial motions deadline and the pre-emptory trial setting. The period of time

during which the motions are pending would be excludable under 18 U.S.C.


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§3161(h)(1)(F), and the period between the ruling on the motions and the trial

would be excludable under 18 U.S.C. §3161(h)(8)(B)(iv), as the same would

be a “reasonable time necessary for effective preparation, taking into account

the exercise of due diligence." Id. For these reasons, the Court will give this

matter a pre-emptory setting for trial, with a specific trial date to be named

later, but which date will be in either February or March 2009.

      The Court finds and concludes that the schedule set forth herein allows

“the reasonable time necessary for effective preparation, taking into account

the exercise of due diligence," 18 U.S.C. §3161(h)(8)(B)(iv), and that the ends

of justice served by allowing this schedule outweigh the best interests of the

public and the defendants in a speedy trial. 18 U.S.C. §3161(h)(8)(A).

      By consenting to this Order, the parties are agreeing to the relief set forth

herein, and are also stipulating to the factual findings and conclusions which

form the basis for that relief, and waive any objection to such findings and

conclusions, including any objection based upon any individual Defendant’s

rights provided under the Speedy Trial Act.

      IT IS THEREFORE ORDERED that the Motion to Continue of Defendant

Rankin [Doc. 77] is GRANTED and this matter is continued from the June 9,

2008 Trial Term.


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      IT IS FURTHER ORDERED that the Motions to Extend Time to File

Pretrial Motions of Defendants Gee, Sprouse and Springs [Doc. 70, 71 and 72]

are GRANTED, and the motions deadline is extended to October 15, 2008.

      IT IS FURTHER ORDERED that this matter is pre-emptorily set for trial,

with a specific date to be named later, but which date will be in either February

or March 2009.



                                        Signed: June 6, 2008




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